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 8                               IN THE UNITED STATES DISTRICT COURT

 9                                  EASTERN DISTRICT OF CALIFORNIA

10
     UNITED STATES OF AMERICA,                           CASE NO. 1:19-CR-00190-NONE-SKO
11
                                   Plaintiff,            STIPULATION REGARDING EXCLUDABLE
12                                                       TIME PERIODS UNDER SPEEDY TRIAL ACT;
                            v.                           FINDINGS AND ORDER
13
     ALEJANDRO MOLINA SANCHEZ,                           DATE: September 21, 2020
14                                                       TIME: 1:00 p.m.
                                  Defendants.            COURT: Hon. Sheila K. Oberto
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            This case is set for status conference on September 21, 2020, which the parties stipulate to
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     continue to October 30, 2020 for a change of plea hearing for the reasons set forth below. On May 13,
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     2020, this Court issued General Order 618, which suspends all jury trials in the Eastern District of
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     California “until further notice.” Further, pursuant to General Order 611, this Court’s declaration of
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     judicial emergency under 18 U.S.C. § 3174, and the Ninth Circuit Judicial Council’s Order of April 16,
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     2020 continuing this Court’s judicial emergency, this Court has allowed district judges to continue all
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     criminal matters to a date after May 2, 2021.1 This and previous General Orders, as well as the
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     declarations of judicial emergency, were entered to address public health concerns related to COVID-19.
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            Although the General Orders and declarations of emergency address the district-wide health
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     concern, the Supreme Court has emphasized that the Speedy Trial Act’s end-of-justice provision
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            A judge “may order case-by-case exceptions” at the discretion of that judge “or upon the
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28 request of counsel, after consultation with counsel and the Clerk of the Court to the extent such an order
   will impact court staff and operations.” General Order 618, ¶ 7 (E.D. Cal. May 13, 2020).
     STIPULATION REGARDING EXCLUDABLE TIME              1
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 1 “counteract[s] substantive openendedness with procedural strictness,” “demand[ing] on-the-record

 2 findings” in a particular case. Zedner v. United States, 547 U.S. 489, 509 (2006). “[W]ithout on-the-

 3 record findings, there can be no exclusion under” § 3161(h)(7)(A). Id. at 507. Moreover, any such

 4 failure cannot be harmless. Id. at 509; see also United States v. Ramirez-Cortez, 213 F.3d 1149, 1153

 5 (9th Cir. 2000) (explaining that a judge ordering an ends-of-justice continuance must set forth explicit

 6 findings on the record “either orally or in writing”).

 7          Based on the plain text of the Speedy Trial Act—which Zedner emphasizes as both mandatory

 8 and inexcusable—General Orders 611, 612, 617, and 618 and the subsequent declaration of judicial

 9 emergency require specific supplementation. Ends-of-justice continuances are excludable only if “the
10 judge granted such continuance on the basis of his findings that the ends of justice served by taking such

11 action outweigh the best interest of the public and the defendant in a speedy trial.” 18 U.S.C.

12 § 3161(h)(7)(A). Moreover, no such period is excludable unless “the court sets forth, in the record of

13 the case, either orally or in writing, its reason or finding that the ends of justice served by the granting of

14 such continuance outweigh the best interests of the public and the defendant in a speedy trial.” Id.

15          The General Orders and declaration of judicial emergency exclude delay in the “ends of justice.”

16 18 U.S.C. § 3161(h)(7) (Local Code T4). Although the Speedy Trial Act does not directly address

17 continuances stemming from pandemics, natural disasters, or other emergencies, this Court has

18 discretion to order a continuance in such circumstances. For example, the Ninth Circuit affirmed a two-

19 week ends-of-justice continuance following Mt. St. Helens’ eruption. Furlow v. United States, 644 F.2d

20 764 (9th Cir. 1981). The court recognized that the eruption made it impossible for the trial to proceed.
21 Id. at 767-68; see also United States v. Correa, 182 F. Supp. 326, 329 (S.D.N.Y. 2001) (citing Furlow to

22 exclude time following the September 11, 2001 terrorist attacks and the resultant public emergency).

23 The coronavirus is posing a similar, albeit more enduring, barrier to the prompt proceedings mandated

24 by the statutory rules.

25          In light of the societal context created by the foregoing, this Court should consider the following

26 case-specific facts in finding excludable delay appropriate in this particular case under the ends-of-
27 justice exception, § 3161(h)(7) (Local Code T4). 2 If continued, this Court should designate a new date

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              The parties note that General Order 612 acknowledges that a district judge may make
     “additional findings to support the exclusion” at the judge’s discretion. General Order 612, ¶ 5 (E.D.
       STIPULATION REGARDING EXCLUDABLE TIME              2
30     PERIODS UNDER SPEEDY TRIAL ACT
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 1 for the change of plea. United States v. Lewis, 611 F.3d 1172, 1176 (9th Cir. 2010) (noting any pretrial

 2 continuance must be “specifically limited in time”).

 3                                                STIPULATION

 4           Plaintiff United States of America, by and through its counsel of record, and defendant, by and

 5 through defendant’s counsel of record, hereby stipulate as follows:

 6           1.     By previous order, this matter was set for status on September 21, 2020.

 7           2.     By this stipulation, the parties now move to vacate the status conference and set this

 8 matter for a change of plea before the Honorable Dale A. Drozd on October 30, 2020 at 9:30 and to

 9 exclude time between September 21, 2020, and October 30, 2020, under Local Code T4.
10           3.     The parties agree and stipulate, and request that the Court find the following:

11                  a)       On September 9, 2020, the parties entered into and filed a Memorandum of Plea

12           Agreement. Dkt. 33. For that reason, the parties agree that a continuance until October 30,

13           2020, is warranted for a change of plea. Prior to filing this stipulation, the parties conferred with

14           the courtroom deputy for the assigned district court judge (NONE), who indicated this date is

15           available for a change of plea.

16                  b)       The parties stipulate that the period of time from September 21, 2020, through

17           October 30, 2020, is deemed excludable pursuant to 18 U.S.C. §§ 3161(h)(7)(A) and

18           3161(h)(7)(B)(i) and (iv) because it results from a continuance granted by the Court at

19           defendants’ request on the basis of the Court’s finding that the ends of justice served by taking

20           such action outweigh the best interest of the public and the defendant in a speedy trial.

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     Cal. March 18, 2020).
        STIPULATION REGARDING EXCLUDABLE TIME              3
30      PERIODS UNDER SPEEDY TRIAL ACT
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 1          4.      Nothing in this stipulation and order shall preclude a finding that other provisions of the

 2 Speedy Trial Act dictate that additional time periods are excludable from the period within which a trial

 3 must commence.

 4          IT IS SO STIPULATED.

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     Dated: September 9, 2020                                 MCGREGOR W. SCOTT
 6                                                            United States Attorney
 7
                                                              /s/ STEPHANIE M. STOKMAN
 8                                                            STEPHANIE M. STOKMAN
                                                              Assistant United States Attorney
 9
                                                              /s/ ALONZO GRADFORD
10   Dated: September 9, 2020
                                                              ALONZO GRADFORD
11                                                            Counsel for Defendant
12                                                            Alejandro Molina Sanchez

13
                                           FINDINGS AND ORDER
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     IT IS SO ORDERED.
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17 Dated:        September 11, 2020                               /s/   Sheila K. Oberto              .
                                                       UNITED STATES MAGISTRATE JUDGE
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      STIPULATION REGARDING EXCLUDABLE TIME               4
30    PERIODS UNDER SPEEDY TRIAL ACT
